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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF ILLINOIS


THOMPSON CORRUGATED SYSTEMS, INC.,                   )
an Illinois corporation, and THOMPSON                )
CORRUGATED SYSTEMS, LLC, a South                     )
Carolina limited liability company,                  )
                                                     )
                       Plaintiffs,                   )
                                                     )
               v.                                    )        No. 3:20-cv-00122
                                                     )
ENGICO S.r.l., a citizen of a foreign state,         )        Hon. J. Phil Gilbert
                                                     )
                       Defendant.                    )

PLAINTIFFS’ MOTION PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 64

       Plaintiffs Thompson Corrugated Systems, Inc. (“Illinois Thompson”) and Thompson

Corrugated Systems, LLC (“Thompson LLC”) (collectively, “TCS”), by their attorneys, as their

motion to seize property of Defendant Engico S.r.l to secure satisfaction of the judgment in this

action pursuant to Federal Rule of Civil Procedure 64, state as follows:

       1.      Defendant Engico S.r.l (“Engico”) is an Italian corporation with no offices in the

United States and generally no assets in the United States.

       2.      This Court’s Memorandum and Order of April 26, 2022, (Dkt. 95) entered summary

judgment in favor of TCS on Counts I (breach of contract) and Count II (violation of the Illinois

Sales Representative Act (“ISRA”)) of the Complaint with respect to Engico’s sale of a machine

to Lawrence Paper Company in 2019. Under Count I, this Court utilized the sliding scale

commission structure that both parties recognized applied to this sale, which occurred on May 10,

2019, to produce a damages award of €180,000. (Dkt. 95, p. 5.) Under Count II, this Court applied

the Illinois Sales Representative Act, 820 ILCS 120/0.01, et seq., and found that TCS was entitled

to three times the amount of the unpaid commissions of €180,000, plus attorneys’ fees and court
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costs. (Dkt. 95, pp.15-16.) This Court requested further submissions on the amount of the judgment

with respect to the sale to Lawrence Paper.

         3.      The Court’s Memorandum and Order of April 26, 2022, also held that issues of fact

remained with respect to TCS’s entitlement to commissions and statutory damages on sales to

President Container and Welch Packaging. (Dkt. 95, pp. 12-14, 16.) Commissions of at least

€180,000 (President sale) and €70,000 (Welch) are at issue on those claims. As this Court

previously noted, “Commissions due at the time a sales representative contract is terminated must

be paid within thirteen days of the termination or, if commissions become due later, within thirteen

days after they become due. 820 ILCS 120/2.” (Dkt. 95, p. 15.) As this Court further held: “A

business that fails to comply with the thirteen-day rule is liable for three times the amount of the

commission due, plus attorney’s fees and court costs. 820 ILCS 120/3.” (Dkt. 95, p. 15.) Three

times the claimed commissions due on those sales total at least €786,000. 1

         4.      Engico has repeatedly sought and been granted continuances in this lawsuit, which

threaten TCS’s ability to collect on the judgment to be entered. This matter was originally set for

trial on May 17, 2021. Due to COVID and other issues, the parties jointly requested an amendment

to the Scheduling Order on September 28, 2020, which did not change the trial date. (Dkt. 43.)

However, Engico thereafter made numerous requests for continuances of the Scheduling Order.

On February 5, 2021, Engico filed an Emergency Motion for Protective Order and to Modify the

Discovery Schedule (Dkt. 48), which this Court granted over Plaintiffs’ objection. (Dkt. 51.) The

Court reset the trial date to September 7, 2021, which was then reset by agreement to October 4,

2021, to avoid a conflict with a religious holiday. (Dkt. 54.) On July 20, 2021, Engico filed a

second Motion for Protective Order and to Modify the Discovery Schedule (Dkt. 55), which this



1
    This amount converts in dollars to approximately $880,320. (Dkt. 97, Ex. A.)
                                                 2
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Court again granted over Plaintiffs’ objection. Due to the numerous continuances of discovery

requested by Engico, on September 13, 2021, TCS filed their Unopposed Motion to Modify the

Schedule to Allow the Parties to File Dispositive Motions. (Dkt. 62.) This Court then reset the trial

to February 14, 2022.

          5.   On January 26, 2022, Engico filed a Motion to Continue the Pre-Trial Conference

and Trial (Dkt. 88), which this Court granted. The Court reset the trial to June 13, 2022. On April

26, 2022, Engico filed another motion to again continue the trial date (Dkt. 92), which this Court

granted over TCS’s objections. The current trial date is set for August 22, 2022.

          6.   As Engico’s most recent motion for a continuance (Dkt. 92) alluded to, Engico is

scheduled to install and is owed money for a machine sold to Greif, Inc. in North Carolina.

Engico’s press release announced that the machine being sold to Greif is available to be viewed in

Lissone, Italy from June 8 to 17, 2022 “before delivery to Greif Corrchoice—USA.” See Exhibit

2 to the attached affidavit of Frederick H. Thompson Sr. (“Thompson Affidavit” or “Thompson

Aff.”.)

          7.    Pursuant to Engico’s standard contract and past practice, payments for Engico

machines are made in installments based upon certain points in the delivery and installation

process. For example, as set forth on Engico’s quote for the President sale, payments of €4,400,000

were due as follows: (a) 25% upon the order; (b) 35% upon delivery to the Italian port for shipment;

(c) 15% upon arrival of the machine at President’s facility; (d) 12.5 % upon startup of the machine

after installation; and (e) 12.5% 30 days thereafter. (Exhibit 1 to the Thompson Affidavit). As set

forth in the attached Thompson Affidavit, Engico has followed a similar payment plan for its other

machine sales and quotations. (Thompson Aff. ¶ 4.)




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       8.      As a result of the various continuances sought by Engico, and particularly this most

recent one, Engico has now positioned itself to collect all payments due on the Greif sale in

advance of the trial in this matter. Thus, TCS will be greatly prejudiced with Engico now poised

to successfully remove to Italy any assets upon which TCS could collect in satisfaction of its

judgment.

       9.      Federal Rule of Civil Procedure 64 provides in relevant part: “At the

commencement of and throughout an action, every remedy is available that, under the law of the

state where the court is located, provides for seizing a person or property to secure satisfaction of

the potential judgment.”

       10.     Fortunately, the law of Illinois enables TCS to reduce the risk of unfair prejudice

created by the scheduling concerns. “Under Illinois law, a creditor with a claim exceeding $20

may attach property of the debtor where the debtor is not a resident of Illinois. 735 ILCS 5/4-

101(1).” M.S. Distributing Co. v. Web Records, Inc., No. 00 C 1436, 2003 U.S. Dist. LEXIS 9092

at *3 (N.D. Ill. May 29, 2003). In addition, both North Carolina and Kentucky (where Greif’s

headquarters is located) have similar prejudgment attachment statutes. N.C. Gen. Stat. § 1-440.2,

1-440.3; Ky. Rev. Stat. § 425.301.

       11.     This case is akin to Philips Medical Systems International B.V. v. Bruetman, 8 F.3d

600 (7th Cir. 1993), in which the Seventh Circuit affirmed an order requiring the defendant to

deposit proceeds from the sale of medical equipment with the district court prior to any final

judgment. Included among the proceeds required to be deposited were bills of exchange held in

Argentina. 8 F.3d at 604. The Seventh Circuit held:

    A federal court is empowered to issue all orders necessary and proper to protect the
    enforceability of a judgment before it becomes final, provided only that the forum state
    equips its own courts with such remedies, Fed. R. Civ. P. 64; Lechman v. Ashkenazy
    Enterprises, Inc., 712 F.2d 327, 330 (7th Cir. 1983) [**11] (per curiam), and Illinois

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      does. 735 ILCS 5/4-101 (1992). That power provided an adequate foundation for the
      order to deposit in court, where they would be available to satisfy the judgment in part
      should the judgment be affirmed (as it later was), the proceeds of the sale of Philips
      equipment to the Chilean clinic.

Id.

        12.     Similarly, in M.S. Distributing Co., 2003 U.S. Dist. LEXIS 9092 at *7, the Court

held that under 735 ILCS 5/4-101, it could enjoin the non-resident defendants from withdrawing

or encumbering a portion of their Florida bank account in order to preserve assets to satisfy a

default judgment awarded to the plaintiff, but not yet entered as a final judgment. The Court held

that “Under Philips, the Court possesses the authority to order Ms. Berns and Mr. Jackson to

deposit assets with the Court to protect the enforceability of the default judgments that have been

entered.” Id. at *7. The Court held that the “Illinois prejudgment attachment statute gives a court

the authority to order a party over whom the Court has jurisdiction to bring assets into Illinois, so

that the Court then might control them.” Id. at *6.

        13.      This Court has, of course, already entered partial judgment in TCS’s favor.

Through no fault of TCS, this matter has been repeatedly continued. Without relief from this

Court, these continuances will now enable Engico to remove payments received from its last

known U.S. equipment sale and remove those payments to Italy beyond the jurisdiction of this

Court prior to trial and entry of a final judgment in this matter. Without entry of an order under

Rule 64 to secure satisfaction of the judgment, Engico will be able to exploit the continuances it

has sought and received to secrete its last known U.S asset far from the reach of this Court. As in

both Phillips and M.S. Distributing Co., this Court should order Engico to deposit with the court

any proceeds still in the United States from the sale of the machine to Greif, Inc., and any such

proceeds hereafter received.




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       WHEREFORE, Plaintiffs respectfully request that this Court enter an order requiring

Engico to deposit with the Court any proceeds still in the United States from the sale of the machine

to Greif, Inc., and proceeds received hereafter from the sale to Greif, Inc., and for such other and

further relief as this Courts deems just.

                                                      Respectfully submitted,

                                                      Plaintiffs Thompson Corrugated Systems,
                                                      Inc. and Thompson Corrugated Systems,
                                                      LLC

                                                      By: /s/ Adam J. Glazer_________
                                                              Adam J. Glazer

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Attorneys for Plaintiffs




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                              CERTIFICATE OF SERVICE

       The undersigned, a non-attorney, does hereby certify that on May 18, 2022, she served a
copy of the foregoing PLAINTIFFS’ MOTION PURSUANT TO FEDERAL RULE OF
CIVIL PROCEDURE 64, upon those listed below with the Clerk of Court using the CM/ECF
system which will send notification of such filing(s) to the following:


                                      Robert S. Minetz
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                               pstufflebeam@tresslerllp.com


                                                         By: /s:/ Taniesa A. Garza-Akers
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                  EXHIBIT 1
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                                                                                             To:
                                                                                             President Container Group II. LLC
                                                                                             U.S.A.



         ATTN: Mr. Lany Grossbard, Richard Grossbard. Richard Goldberg
         GENERAL AGREEMENT #:15/19
         DATE: October 30, 2019-10-30
         OBJECT: MULTIFUNCTION BOTTOM FFG model COMPACT 66-99/18B [16-25/48) DUAL SIZE
         LAYOUT: EN-19-050



         Final installation layout will be prepared after the Inspection of the Engico technicians at your plant.

         Index:
         - General description ....................................................................................................page 1-3
         - Detailed technical and manufacturing descriptions of each module .........................page 4-1 O
         - Technical and Performance Data Sheets .......................................................................page 11-14
         - Prices ............................................................................. ................................................. page 15
         - Conditions of sale ........................................................................................................... page 16-19
         - Certificates ......................................................................................................................page 20-22



                                                             GENERAL DESCRIPTION

         Origin:              Machinery totally designed and manufactured in Italy.

         Mechanical: First rate mechanical components are selected among the best available such as
                     SKF, INA, Alpha and SEW.

         Electronic:          AH main shafts are direct driven by independent motors electronically dynamic
                              controlled, thus guaranteeing minimal power use and precise registration.
                              Motors, actuators and electronic components are from SIEMENS.

         Installation: The fixed position modules are permanently mounted to the floor, and provide
                       easy access for operations and service.

         Service:             Dedicated device installed to provide remote teleservice via the internet in secured
                              VPN connection

         Colors:              The machine main structures are standard Engico RAL 7035 light grey, the
                              electronic systems are RAL 5010 blue.


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     20851 USSONE (MB) llaly. Via Ada,nello 2 ° C.C.I.A. MOraa Brtan2a 1339459 Tlfb. Monza 44562 • P.IVA 02057150989 TEL 039 2-4571147 FAX O:l9461196
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                                                                                                                                  ENG 001440
                                                                                                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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        En91co

        The ENGICO is a state-of-the-art machine designed for multiple functions. It produces the same
        results as a traditional Printer-Slotter, AND Flexo-Folder-Gluer AND Rotary Die Cutter, as well as
        most straightlines which currently require a Specialty Folder-Gluer. There are various choices of
        features directed for small, medium, and large order quantities. Finished orders are bundles AND
        high piles, are flat or folded, and joined by glue or stitch. Wrappers, folders and trays do not require
        special cutting dies OR additional setup time when the Side Slot option is installed. Order change
        can be 2 to 3 minutes when the "Pre-Set' options are included.

        All the modules use totally servo driven technology.

        Set up data is entered at the machine operator console or directly from an office computer.
        Dedicated telecommunications provide internet connections for real time diagnostic assistance.

        Board line is between 35 and 55 inch above the floor, or 85 inch for the "High Board Line" models.
        Pits are typically installed for the "Pre-Sef' options. The innovative sheet transport system provides
        absolute registration control, walk-in access, and an extremely broad range of sheet dimensions.
        The "Pre-Set" options allow most order changes in under two minutes.

        Jam detectors and video cameras provide Operator controls over the entire line. Operating noise
        levels are under OSHA mandated hearing protection levels. Power use is exceptionally low due to
        the use of efficient drives and the overall machine design.

        The Engico machines range in size from 51/110 to 99/255. Style flexibility, order change speed,
        and consistent operating expectations make the Engico a superb choice for modern box makers.

        MODULES

        Feeder
        The Feed Module is a full width vacuum lead edge design capable of being used with the Engico or
        other manufacturer's Pre-feeder.

        Printer
        With the "Pre-Set" option, print cylinders can be set while the machine is on another order, with
        minimum order change time typically under 2 to 3 minutes.
        A unique ink circulating system minimizes the color change time and water use. The "Dual Sizes"
        option can be of interest for printing sheets over 66" through the machine.

        Slotter
        The patented Dual Shaft Slatter Module makes 1/10.2 inch panels and any depth slots without
        changing blades. Pre-Score and Score heads properly convert a broad range of board flutes and
        grades.

        The "Triple Wall" model Slotter includes our patented self-positioning central support to eliminate
        deflection in both idle and run modes, and for board grades up to 500 pounds/msf. The sheet
        transport through the Slatter is by belts, thereby guaranteeing perfect registration and eliminating
        head crush. The score heads are "free-wheeling" which results in a precise crease for proper
        folding. The concave, serrated slotter blades cut a clean slot.

        Rotary Die Cutter
        The "Pre-Set" version permits changing cutting dies while the machine is processing another order.
        The "Dual sizes" option can be of interest for sheets over 66" through the machine. The •oual
        Sizes" can also be installed as a "Duplex• and both cylinders have t h ~ circumference.
                                                                                                                   e
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         En91co

        Folder Gluer
        Folding is in two distinct sections in order to maintain sheet alignment and eliminate "fishtailing".
        The first section brings the side panels to 90 degrees and the second closes the panels. Different
        types of belts are used in each section and each is independently driven. A vacuum assisted
        "Center Carrier" belt provides added transport control and supports running two-out sheets.
        Therefore, the Engico gives perfect folding across a broad range of box styles and board test from
        lightweight singlewall to extremely heavy triplewall.

        Re-Feed- Stitcher-Taper
        The electronic controlled "Re-Feed" assures accurate panel alignment and inserts the sheet into
        the manufacturer's joint system. The setup is automatic, including running in "skip-Feed" mode.

        Single or dual stitch heads are available when two wire gauges are used. Combined stitch AND
        glue joints are also possible, and these are quite practical in many applications.

        Taping module is available.

        Delivery Module

        Down-Stacker Module
        Medium to large joined boxes and flat sheets are collected on the Down Stacker. Load changes
        are pre-detemiined by piece count, and the "Continuous Runn features minimize delays.

        A Semi or Fully Automatic pallet inserter and bottom dunnage insertion device are options.

        Bundle Counter-Collector and Strapper Module
        Small to medium sizes of folded or flat sheets can deliver in bundles with the Counter-Collector
        module. A custom fitted EAM Mosca bundle tier is included in this module. Changes from Bundles
        to High Piles is fully automatic and happens during order change sequence.

        Software
        One software supervisor program system is installed on the Engico machinery to manage the
        operation and provide complete remote teleservice.

        Ancillary machines and other devices

        If requested also the ancillary machines - Prefeeder, Pallettizer, Conveyors etc... - can be
        supplied by ENGICO s.r.l., in cooperation with specialized Italian manufacturers, wholly adopting
        the same Engico manufacturing criteria.

        In case of order received by THE CUSTOMER, ENGICO s.r.l. will be then responsible for supply,
        installation, commissioning, training to the operators and warranty for the entire converting line.
        Engico machine + ancillary machines + disposals included in the contract.

        Designing and process features of the ancillary machines and conveyors will meet the best
        production performance of the entire line in terms of sturdiness, flexibility, reliability and production
        speed.

        Software supervisor program integrated in the Engico system so one complete remote-teleservice
        device available for the entire installation.




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          En91co


            MULTIFUNCTION BOTTOM FFG model COMPACT 66-99 x 188 inch [16-25/48) DUAL SIZE


                                     Technical and performance description



   Pos.1• one    FEEDER MODULE with:

                 - Lead edge feeder system, with adjustable extension device
                 - Back and side sheet guides
                 - Local operator touch screen control panel
                 - Section for transferring the sheets to the following module




   Pos.1a• one   INNOVATION:
                 NOTE: four feed modes are available on the 66 inch [1.676 mm) size machines

                 STANDARD FEED: 7.000 sheet/hour max.
                 One sheet is entered for each revolution of the printing cylinder.

                 DOUBLE FEED: 10.000 sheet/hour max.
                 One sheet is entered at the "O" degree position of the printing cylinder and a second, or
                 DOUBLE, sheet is entered at the "180" degree position.
                 This greatly increases the overall productivity of small sizes boxes since two boxes are
                 produced for every revolution of the printing cylinders equipped with double printing
                 plates.
                 The die cutter cylinder can be equipped with two dies.
                 As usual, knife blades are never changed on the slotter module.

                 SKIP FEED: 3.500 sheet/hour max.
                 One sheet is entered for every two revolutions of the printing cylinder, allowing production
                 of sheets greater than the 66 inch [1.676 mm] dimension.

                  DOUBLE SKIP FEED: 1.800 sheets/hour max - for "Dual Size" option
                 One sheet is entered for every three revolutions of the printing cylinder, allowing
                 production of full coverage and non-repeat printing on over-sized sheets up to 99 inches
                 through.




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                                                                                                       ENG 001443
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         Eng1co
 Pos.2/66"-two BOTTOM FLEXO PRINTER MODULE 66 inch (1,676 mm) with:
               - Printing cylinder with plate positioning screen ## x ti#
               - Diameter and peripheral speed of printing cylinder calculated
                 with 0.280in. total plate and backing thickness
               - Matthew mounting channel
               - Total plate thickness min.## inch (## mm] max.## inch [## mm]
               - CERAMIC LASER ENGRAVED ANILOX ROLL 250 lines/inch 7.5 BCM
               - Rubber doctor roll standard 60 shore
               - Automatic WASH UP standard
               - Local operator control panel
               - Section for transferring the sheets to the following module
                  ## To be defined with the Customer by December 1, 2019

                 Included:
                 - Peristaltic pumps for ink and water circulation


 Pos.2a• two     PRINTER PRESET WHILE RUNNING allowing set up for the next order on the printing
                 module not operating, while the other modules are producing the current order


 Pos.21>- two    NEW PATENTED "DUAL SIZE" PRINT OPTION

                 EXTENSION OF PRINTING AND DIE CUTTING SURFACE WITH DOUBLE SKIP PRINT
                 This very innovative option is for printing, and possibly die cutting, sheets that exceed the
                 66 inch [1676 mm] cylinder circumference. The option allows full print coverage without
                 repeat, up to a maximum sheet of 99 inch [2514 mm] in the through direction.

                 Full coverage, 1-color plates are separated and mounted on any two print modules. One
                 sheet enters at the •zero• position of every three revolutions of the plate cylinder (double
                 skip). Each print module makes the traditional print revolution, after which that cylinder
                 lowers from the board line for two revolutions and raises back Into position before the next
                 sheet reaches that position on the fourth revolution. In this manner, print coverage is
                 extended beyond the traditional 66 inch [1676 mm] limitation.


 Pos.2/99"•one BOTTOM FLEXO PRINTER MODULE 99 inch (2.514 mm)
               The in-line installation of this print module allows to print seamless on the entire sheet
               length, up to 99 inch flute length and with full-print too.
               All of the construction features are the same of the 66 inch (1.676 mm) print module, also
               for the optional 2a.

 Pos.2/99"a-one PRINTER PRESET WHILE RUNNING allowing set up for the next order on the 99"
                printing module not operating, while the other modules are producing the curren~order
                                                                                                .-,:::;'

                one SET OF JAM DETECTOR SYSTEMS ON EACH PRINTING MODULES                     fl ~.,
 Pos.3• one       SUPPLEMENTARY SCORERS MODULE (OCTABINS) composed of:
                                                                                            G \. . .
                                                                                                    C, ().   f,~t ~
                                                                                                             zo
                  • Module main frames                                                    ~~- ,..~
                  - B lower female score rollers                                            1.,L >
                  - 8 top male score wheels

                                                                                                                  ~
                  (Minimum distance between the scorers wheels 1.38 and 6.00 inch [35/150 mm])




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                                                                                                         ENG 001444
                                                                        CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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         En91co


  Pos.4• one    AUTOMATIC SLOTTER MODULE version ADVANCED (patented)

                Five Slotting heads on two shafts
                     Standard slotting knives, with 0.39 inch [10 mm] wide blade thickness
                Two Shafts each with 5 score head pairs
                Two Shafts each with 5 pre-score head pairs
                     Sheet thickness min. 0.060 inch [1,5 mm] max. 0.600 inch (15 mm]
                      min. panels sizes 1 and 10.23 inch [251260 mm]

                One     Patented self-positioning central support eliminating static and dynamic deflection of
                        the shafts


                Included:

        two     INDEPENDENT LONGITUDINAL EDGE TRIM KNIVES + CUTTING TRIM BREAKER
                electronically controlled installed on 4 th panel
                (Max trim width accepted 1.0 inch [25 mm])

                Joint tab max width 4 inch [100 mm]
                1 L + 1 R Set of joint tab crush wheels - max width 4 inch [100 mm)




  Pos.5• two pairs INDEPENDENT SIDE SLOT MODULES (patented)
                      for production of wrappers, folders and trays
                      controlled and driven by full computerized electronic system
                      - Max. depth slots 11.8 inch (300 mm)
                      - Standard cross slots width 0.40 inch [10 mm]
                      - Maximum board thickness 0.30 inch [7 mm]
                      - Maximum board weight 250 pounds/MSF [1.250 gr/sqm]
                      - Registration+/- 0.04 inch (0.08 tot) (+/-1 mm - 2 tot]


        Note:    When producing joined boxes, one pair of Side Slot heads cut the manufacturer's tab.
                 When working as manufacturer's tab cutter the Side Slots can process heaviest
                 corrugated up to triple wall Max 0.600 inch [15 mm] thickness, 500 pounds/MSF (2.500
                 gr/sqm]. 4.0 inch [100 mm] max depth
                 one Operator control panel
                 one Section for transferring the sheets to the following module




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                                                                                                        ENG 001445
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           En91co

  Pos.6• one     ROTARY DIE CUTTER MODULE with:

                 - Top die-cutter cylinder
                   (Hole pattern and bolt sizes to be defined with the customer}
                 - Bottom anvil cylinder
                 - Anvil rotation control system for controlling the peripheral speed of the anvil roll in
                   accordance with the wear on the polyurethane cover          range: +/- 2% (4% total)
                 - Local operator touch screen control panel
                 - Waste extraction conveyor


  Pos.6a• one    NEW PATENTED "DUAL SIZE" DIE CUT OPTION

                 For the same purpose as "Duplex Print", a "Dual Sizen Die Cut Module is offered. This uses
                 two die cylinders, one for 66 inch [1.676 mm] dies and another for 99 inch [2.514 mm] dies.
                 These work against the same large anvil. Alternatively, the Die Cut Module could be
                 equipped with two (Duplex) 66 Inch (1.676 mm] die cylinders.

                 Selecting this unique option allows the very popular 66 inch [1.676 mm] machine to "expand
                 on demand" to produce the same products as a true "Super Jumbo", or to operate as a 66
                 inch with extremely fast die cut to die cut order changes.

                 This system allows dies to be mounted and removed when the machine is operating, and
                 the die cut module is not use.



  Pos.6b• one    TOOLS FOR GRINDING THE ANVIL SURFACE



   Pos.Sc• one   SET OF SCREWS INSERTS on both the 66 and the 99 inch DIE CUTTER CYLINDERS



  Pos.7• one     TRIM STRIPPER CLEANER MODULE
                 - High grip transport belts
                 - Two reverse rotating, soft bristle brush rolls
                 - Moveable fans directed across the module width
                 - Patterns of moveable compressed air jets with pulse controls
                 - Operator control panel
                 - Waste extraction conveyor


   Pos.8• three WASTE EXTRACTION CONVEYORS
                (two longitudinal and one transversal) based on the position of the machine in accordance
                with the factory in floor waste system.




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                                                                                                           ENG 001446
                                                                          CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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           En91co

   Pos.9• one       ENGICO FOLDER GLUER MODEL 188 FB HEAVY DUTY

                    Section one, for the first 90 degree fold
                  - Module main frames
                  - Two main lower transport rails equipped with high grip "timing" belts
                  - Set of lower auxiliary supporting rails
                  - Two side folding rails equipped with folding belts
                  - Set of auxiliary folding bars
                  - Two upper transport rails equipped with large diameter "no crush" wheels
                  - Two adjustable score assist disks to be used on the folding panel scores as needed.
                  - Local operator control panel

                    Section two, for the 90 to 180 degree fold
                  - Module main frames
                  • Two main lower transport rails equipped with belts
                  - One Adjustable "Center Carrier" vacuum belt
                  - Set of lower auxiliary supporting rails
                  - Two Side vertical guiding belts for alignment control
                  - Set of side folding bars
                  - Local operator "touch" control panel

                   Note: All the belts installed on both folding sections are driven by their own servo motor.

   Pos.9a• one STANDARD DUAL SIDE GLUER SYSTEM mainly consisting of:
                   - Main movable support
                   - Container + glue pump + filter
                   - Digital proportional valve
                   - Glue dispenser with 4 guns - 4 lines
                   - Piping and wiring net
                   - Change order data managed by the centralized presetting device of the machine


   Pos.1 O• one      RE-FEED MODULE for stitching and taping consisting of:
                    - Module main frames
                    - Side guiding rails with polyurethane covered lower pulleys driven by timing belts
                    - Top pneumatic counter pressure am,s with polyurethane covered wheels for use as
                      needed.
                    - Central top and bottom rails, supporting the device, driven and controlled by
                      a brushless motor and PLC device
                    - Local operator "touch" control panel


   Pos.11• one       STITCHER MODULE manufactured by Engico consisting of:
                    - Module main frames
                    - One stitching inline head rated at 1000 stitch/min.
                    - Electric cabinet and electronic display controlling stitching head   ~
                    - Local operator control panel
                     Minimum stitched panel: 6.0 inch [150 mm] + joint flap
                     with Triple wall: 10.0 inch {250 mm]+ joint flap
                     max. board thickness: 0.6 inch [15 mm] thickness-
                     max. board weight: 500 Pounds/MSF [2.500 ginslsqm]
                    - Double unwinder reel stand for stitching plate wire - each 130 pounds [60 Kg]




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                                                                                                             ENG 001447
                                                                            CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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          Eng1co
   Pos.11a• one SECOND INLINE STITCHING HEAD

   Pos.12• one   BOTTOM ENTRY BUNDLES COUNTER EJECTOR with STRAPPER MODULE
                 - Movable transferring sandwich
                 - Squaring counter ejector
                 - Top exit bundle driving belt motorized
                 - Local operator touch screen control panel
                  -Bundles ejector IN LINE EXIT DIRECTION
                 - One IN LINE bundles strapping module MOSCA
                   NOTE: bundle size: min 13.7 x 21.7 inch [350 x 550 mm]
                                        max 99 x 63 inch [2500 x 1600 mm]
                 NOTE:
                 The bundle strapper MOSCA will be supplied by Engico together with the relevant complete
                 operator mezzanine. Bundles take away system out of the MOSCA strapper will be
                 supplied by the local conveyors supplier.

  Pos.13• one    DOWN STACKER MODULE
                 - Stack table with plastic conveyors Acetal controlled by photo switch and PLC device
                 - Front mechanical squaring module
                 - Continuous run device for changing stack
                 - Left and right side pneumatic squaring devices
                 - Local operator control panel
                   Maximum standard stack height 68 inch [1.700 mm] total with pallet Included



          one    CENTRALIZED ELECTRONIC PRESETTING DEVICE
                 - with storage capacity for 10,000 order specifications. Includes industrial-rated P.C. with
                 14" screen to control the following:




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                                                                                                       ENG 001448
                                                                      CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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          Eng1co
          FEEDER MODULE:                                          PRINTER MODULE:
          - Sheet back stop                                       - Printing clearance between plate cylinder
          - Sheet side guides                                       and impression cylinder
          - Board thickness between feeder rollers                - Zero search
          - Sheet sides transferring belts                        DIE CUTTER MODULE:
            between the modules                                   - Die cutting pressure between die cylinder
          - Zero search                                              and anvil counter pressure cylinder
                                                                  - Zero search

          SLOTTER MODULE:
              • Transverse positioning of the slotting knives
              - Longitudinal positioning of the slotting knives
              - Board thickness between slotting heads
              - Transverse positioning of score heads
              - Board thickness between score heads
              - Transverse positioning of pre-score heads
              - Board thickness between pre-score heads
              - Side slot positions

          FOLDER GLUER-STITCHER, DOWN STACKER AND BUNDLE DELIVERY:
              - Positioning of folding arms belts and folding rails
              - Positioning of glue dispenser
              - Positioning of front mechanical and lateral pneumatic squaring devices
                on the stacking section
              - Positioning of box length in the bundles squaring and counting section


                - Possibility of orders management from the procfuction office
                  The protocol connection will be defined with the Customer


  Pos.14• one MAIN ELECTRIC CABINET with device unit
              Installed to support teleservice via INTERNET



          The Video System shall be provided as follows.

          four screens at the feeder unit and four screen at the stacker.
          Cameras are installed shooting on:
          1 - Rotary Die Cutter
          2 - Folder Gluer
          3- Stitcher
          4- Stacker
          5 - Counter Bundle Ejector
          Camera 4 and 5 are attematlve, depending on the production (stacks or bundles). They automatically switch
                    on one of the screen.

          Average electric power consumption of the entire line:
          Between 90 and 120 KILOWATTS-180/240 Amps. 480v +/-10% variation
          According to the number of modules installed in the line




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                                                                                                           ENG 001449
                                                                          CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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        Engnco
                                            TECHNICAL AND PERFORMANCE DATA SHEET in INCHES

                                                                  Standard 66 x 188                                                         With Double Skip Feed
                                                                                                                                                     "DUAL SIZE"
                                                                         cod.FEFCO                                                                    66/99 X 188
                                                                       201 -202 .. .
                                                                      0411-0412 .. .

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                                                                                            w
                                                                                            :,,:: I

                                                                                            N
                                                                                            w
                  L                 B                   L                  B
                                                A                                   .I
      Sheets sizes - in inches
      Minimum flat sheet (H x A)
       - normal run mode . . . . . . . . . .. . .. . .. . . . . . . . . . . . . . . .. . .. . . .     21.6x~ 31.5
       - with pull bands on printer and die cut cylinders                                             13.7 x.19.4 31.5

      Maximum flat sheet (H x A)
       -single feed ... .. . .. . .. .. .. .. . ... .. .. .. .. .. . .. . . . .. .. 61 x 188.9
       - double feed . . . . . .. . . .. . . . .. . . . . . . . . . . . .. .. . . . . . . . . ... .. . .. 28 x 188. 9
       -skipfeed ................... ........ .............. . .... ...... ...... 99x188.9
       - double skip feed . . .. ... . . . .. . . . . . . .. . . .. . .. . .. . . .. . .. .. . .. .. . .. .. . . . . . .. . .. . . . .. ......... . .......... 99 x 188.9
      Print and Die Cut area
      Maximum print area (with Matthew system) ......... ... ... . 64 x 177.1 ....... ... ... ..... . ... .. 97 x 177.1
      Printing register .......................................... +/- 0.03 (0.06 tot.) .... ...... ....... +/- 0.04 (0.08 tot.)
      Maximum Die Cut area ... ... ..... .... .. ... . .. .. . ... ......                                 65 x 177.1 .. ... . ................. 98 x 177.1
      Die Cut register .. .. . . .. ... ... . .. ... .. . .. .. . . . ....... +/- 0.04 (0.08 tot.) .... . ,..... ..... +/- 0.06 (0.12 tot.)
      Slatter versions:                                                                               Triple Wall
      Minimum panels (LIB) ... ... ... ... ... ... ... ... ........ ........ . ......... 1/10.2
      Board thickness ........... ..... ............ .. ...... min. 0.06 + max. 0.60
      Maximum board weight .. . . . . . . . . .. . . . . .. . .. .. .. .. .. 500 pounds/MSF
      Slots length (E1/E2) .. . . . . . . . . .. . . .. .. . . .. . . . . . . . . . min. 0 / max. No limit
      Joint flap length (K) . .. ... ... . . . .. . ... . .. . .. . ... . .. . min . 6 I max. No limit
      Joint flap width (F) ..................................................... max 3.93
      Slatter register .. . . . . .. . .. . . .. . .. . . . . . . . . . . . .. . . . .. . .. . +/- 0.04 (0.08 total)
      Sizes of folded box
      Glued panel (folded) (L) . .. .. . ... . . ... . .. .                                    min. 2.3 / max.47.2
      Stitched panel (folded) (L) .. . . .. . . . . .. .. . .. . .. . min. @ 7.8 / max.47.2
      with triple wall . .. .. . .. . ... ... ... . . . .. . ... ... ...... ... ... . .. min. 10 / max.47.2
      Panel (folded) (B) . . .. . . .. .... . ..... . ................. min. 8.9 I max. ~ 76. 7
      NOTE: smallest panel of the box + joint flap always on the left side
               of the machine
      Box sizes in bundles H x (L+B)
      with in line bundles exit .................. min. 13.7 x 21.7 / max. 99 x63
      Stacking system Sheet (H x A) min. 13.7 x 23.6 I max. 99 x 188.9
      Max stack height . .. .. . . . . .. . . . . . . . . .. .. . . .. . .. . . .. . . .. . . . .. to be defined
      Production max - sheets/hour
      - single feed . . . . . . ... . . . ... . .. . . . . .. .. . .. . . . . .. . ... .. . . . . . . . .. . . . . . .. .. .. . . . . 7 .000
      - double feed (see dedicated tech. description on page 4) .......... 10.000
      - skip feed . .. . . . . . . . . . . . . . .. . . . . . .. . .. . .. . . .. . .. . .. .. . .. . . . . . . . . .. .. .. .. .. 3.500
      - double skip feed (Dual Size modes):
      Print (according to the length of printing plates in circumference direction) ........ .. from 1.200 to 1.800
      Die Cutter (according to the sizes and the quality of the corrugated sheets) ................................ 1.800
        PROPOSAL OF GENERAL AGREEMENT# 15/19 of October 30, 2019                                                                                                      11/22




                                                                                                                                                ENG 001450
                                                                                                               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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        Eng1co
                                    TECHNICAL AND PERFORMANCE DATA SHEET in INCHES

                                           Independent CROSS DIE CUTTING device (patented)
                                                  Cod. FEFCO 0230 - 0300 - 0331 - 0409
                                                                                C
                                                                                              -11
                                                                                                -~--~
                        C
                        0
                        ti
                        I!!
                        '5
                         gi
                        'g
                        J!!                0.39
                                         standard
                                       slots width
                                                     r'                                                       H




                                                                                   A

        Sheets sizes - in inches
        (see on previous page - Standard 66 x 188)
      Versions: Compact

      C: ...... ..................... min. O / max. 11.8
         .. . . .. ... .. .. .. . .. .. .. .. .. .. 250 pounds/MSF
      D : .............................................            No limits
      G: .............................................             min. 11
      L : ..................... ... .....................          min.        1
      n°: ,., ,., ,. , ,............. , ., , •., ,. , ., , ., , 1 o 2 , 3 o 4 , 5 o 6 o ...
      Die Cut register: ......... ...... ... ..... +/- 0.03 (0.06 total)
      Production speed
      in single feed: .......... ..             max. 525 ft/min
                                             5.800 sheets/hour
      Note: The production speed decreases as much as G is less than 11.
                 Cod. FEFCO 0302 • 0401                                                            Cod. FEFCO 0415
            L                                         C                            C                                 C
                                                                                   iu         *
                                                                                   I!
                                                                                   '5
                                                                                   g,
                                                                                   1



      * these creasers have to be done before
      Note: when producing blank cod. FEFCO 0415, parts of die blades may be removed by the operator
      (max. time required 1-2 minutes).

        PROPOSAL OF GENERAL AGREEMENT# 15/19 of October 30, 2019                                                         12/22




                                                                                                                                   ENG 001451
                                                                                                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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       En91co
                                        TECHNICAL AND PERFORMANCE DATA SHEET in MILLIMETRES

                                                               Standard 16/48                                                      With Double Skip Feed
                                                                                                                                           "DUAL SIZE"
                                                                 cod.FEFCO                                                                      16-25/48
                                                                 201 - 202 .. .
                                                                0411 - 0412 .. .

                                         ½-i·~----·-,___
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                                                                                    w
                              !~
                              V                                                     ::,c :I:
                              I~
                               1:
                       ---, --·-·-
                                    B              L                B
                                            A

      Sheets sizes - in millimetres
      Minimum flat sheet (H x A)
       - normal run mode .. .. . . .. ... ....... ... .... .                                     550x~ 800
       - with pull bands on printer and die cut cylinders                                        350x~ 800

      Maximum flat sheet (H x A)
       - single feed . .. .. .. . . .. . . ................. ... .. ...... .. .... 1550 x 4800
       - double feed . .. .. . .. . . .. . . . . ... .. . .. .. .. . .. . . . . .. . . ... .. . .. .... 700 x 4800
       - skip feed .. .. .. ... . .. .. . .. . .. .. .. .. .. .. . ... .. .. .. .. . .. .. . .... 2500 x 4800
       - double skip feed .. ... .. . .. .. .. .. .. .... .. . ...... .... .. .. .. .... .. . . . . .. . ..                                         2514 x 4800
      Print and Die Cut area
      Maximum print area (with Matthew system) .. ... . ......... 1620 x 4500 . . . . .. . .. . . . .. .. .. .. .. 2450 x 4500
      Printing register ...... ......... .... ......... ....... ... .... +/- 0,75 (1,5 tot.) .. .. .. . . ....... ... .. +/-1 (2 tot.)
      Maximum Die Cut area .. .... ... .. .. .. .. .. . .. . .. .. .. .                                 1676 x 4500 .. . . . . . . . . ............ 2514 x 4500
      Die Cut register .......... . ... .... ..... .. .. ... . .... . .. .. ....... +/- 1 (2 tot.) .. .. . ... ..... .. . .... +/- 1,5 (3 tot.)
      Slotter versions:                                                                                 Triple Wall
      Minimum panels (UB) .. . . .. . .. . .. . .. . .. . .. .. . . .. . .. . . .. . . . . .. . . . . ... . . 25/260
      Board thickness . .. .. . . .. .. .. .. . .. .. . .. .. .. .. .. ... .. . .. min. 1,5 + max. 15
      Maximum board weight .. ... .. ................ ... . .... ......... 2.500 g/m2
      Slots length (E1/E2) . . . .. . .. . ... . .. . .. .. ... .. . .. . .. . min. 0 I max. No limit
      Joint flap length (K) . .. .. . .. . . . .. . . . .. . .. . .. . . .. .. . min.150 / max. No limit




                                                                                                                                                        ;t
      Joint flap width (F) ..... ......... ....... .. ........ ............. ..... ..... max 100
      Slotter register .. .. . .. .. .. . . .. . .. .. . .. . . . .. . . .. .. . .. ... .. .. . +/- 1 (2 tot.)
      Sizes of folded box
      Glued panel (folded) (L) ... . .. .. . . . . . . ... .. . ... .. . ..... min. 60 I max.1200
      Stitched panel (folded) (L) . . . .. . . . . . . . . . . .. . .. . min. ~ 200 / max.1200
      with triple wall .. .... .. . .... .. .. . .. . .. .. . . .. .. .. .. . . .. .. . . . . min.250 I max.1200
      Panel (folded) (B) .. .. . .. . .. .. .. .. .. .. .. ...... .. .. min. 225 / max. i:400 1950
      NOTE: smallest panel of the box + joint flap always on the left side
               of the machine                                                                                                                          '            ~,
      Box sizes in bundles H x (L+B)                                                                                                                                ~
      with in line bundles exit. .. ......... . min. 350 x 550 / max. 2500 x 1600
      Stacking system Sheet (H x A) min. 350 x 600 / max. 2500 x 4800
      Max stack height .. . .. . .. . .. .. . .. . .. . . . .. . . . . . .. . . .. . . .. . .. . .. . to be defined
      Production max - sheets/hour
      -single feed .. .. . ........ . ............... .. .... ..... .. .. ......... ...... .. 7.000
      -double feed (see dedicated tech. description on page 4) .......... 10.000
      - skip feed . .. . .. .. . ... .. .. .. . .. . .. . .. .... .. .. .. . .. .. . .. ... ... ... .. .... . 3.500
      - double skip feed (Dual Size modes):
      Print (according to the length of printing plates in circumference direction) .. . . . . ... .from 1.200 to 1.800
      Die Cutter (according to the sizes and the quality of the corrugated sheets) ............. ......... ....... ... 1.800

        PROPOSAL OF GENERAL AGREEMENT# 15/19 of October 30, 2019                                                                                            13/22




                                                                                                                                               ENG 001452
                                                                                                              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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        En91co
                                       TECHNICAL AND PERFORMANCE DATA SHEET in MILLIMETRES

                                                      Independent CROSS DIE CUTTING device (patented)
                                                              Cod. FEFCO 0230 - 0300- 0331 - 0409
                                                                                                      C


                              C:
                              0

                             E
                             'C
                              Ol
                              C:
                             '6
                                                                 !                                                   H
                             j
                                                            10
                                                  standard
                                                slots width                                                  n•


                                                                                            A

        Sheets sizes - in millimetres
         (see on previous page - Standard 16/48)
      Versions: Compact

      C : ... . .. . .. . .. . .. ... . . . .. . . . . min. 0 I max. 300
         . . . . . . . . . . . . . .. ... . . . . .. .. . . max 1.250 gr/m 2
      D . .............................................                      No limits
      G . ............................................. min. 2B0
      L : ............................................. min. 25
      n°: ... ... .. . . .. ... .. .. .. ... . .. .. . .. . .. . .. .   1 , 2 , 3 , 4 , 5 , 6 , ...

      Die Cut register: ... . .. .... .. .. . .... .. ..... +/- 1 (2 tot.)
      Production speed
      in single feed: .. ... .. .. ... max. 160 mt/min
                      .............. 5.800 sheets/hour
      Note: The production speed decreases as much as G is less than 280.
                    Cod. FEFCO 0302 - 0401                                                                Cod. FEFCO 0415
              L                                                    C                        c:                              C
                                                                                            0
                                                                                           'fl
                                                                                            I!!
                                                                                           :a
                                                                                            Ol
                                                                                            C:
                                                                                           '5
                                                                                           j




      * these creasers have to be done before
      Note: when producing blank cod. FEFCO 0415, parts of die blades may be removed by the operator
      (max. time required 1-2 minutes).

        PROPOSAL OF GENERAL AGREEMENT# 15119 of October 30, 2019                                                                14/22




                                                                                                                                       ENG 001453
                                                                                                      CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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              En91co
                  Prices for ONE MULTIFUNCTION BOTTOM FFG model COMPACT 66-99 x 1B8 inch
                   [16-25/48] DUAL SIZE supplied as per layout dwg. EN-19-050 and composed of:

       Pos.               aiv--- I Module      - - - - - - - --            - - --------,.---- ----T
  ~     _ _ __,I_ __ , ___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.;...
                                                               ! _                                           __           _,I_ _ __          _
       Pos.1       !1       FEEDER MODULE                                                         j
       Pos.1a    -+,-1--.+·ooUBLE FEEDER
       Pos.2/66"    2       FLEXO PRINTER MODULE 66"
       Pos.2a       2       PRINTER PRE-SET while running
                            in combination with the Dual Size Pos.2b
                            Note: Operators oits used with this ootion
       Pos.2b        2      DUAL SIZE PRINT OPTION                                                                                                  !
       Pos.2/99"     1      FLEXO PRINTER MODULE 99•                                                                                                i
       Pos.2/99"-a--+-1--i-P-R_I_N_TE
                                    _ R_P_R_E--S,.....E_T_wh
                                                          _ il_e_ru_n_n_in_g_ _ __ _ _ __,,_- - - + - - - ----;l
                      Note: Operators pits used with this option                                                 !                                  !
  ,_P_o_s-.3- - ~1- --~
                      su
                       ~p'='p==LE
                               ~ M==E~NT
                                       = AR
                                         '="=Ycc..S
                                                  ~C'::"O
                                                        ='"=RE
                                                            ~ R::'-S
                                                                   -::'--::M'-:'O-=:D=-:U:':':L-'-::::E: :------+-- - - + - - --                 --;_
                           (OCTABINS)
           .4---+---1- -.....S,.....L-'-O-,TT
   1-Pc-o-s--,                              = ER
                                               _ M.._,0.. .D
                                                           , .-U-L.....
                                                                   E-m-od
                                                                        - . A--D,_,,V..,..,Ac-N--c=e=□-------;--- --- --.----- --
       Pos.5              2R+2L ' INDEPENDENT EDGE SIDE SLOT MODULE
   1- - - - - . . . . . ; . -- -
       Pos.6              1          ROTARY DIE CUTTER MODULE
       Pos.6a             1          DUAL SIZE DIE CUT OPTION 66 - 99 inch
                                                                                                                                             ---
       Pos.6b             1          TOOLS FOR GRINDING THE ANVIL SURFACE
                              ·- -                                                                                                                  '
       Pos.6c             1          SET OF SCREWS INSERTS
                                     on both the 66 and the 99 inch Die Cutter Cvlinders
   ! Pos.7                1          TRIM STRIPPER CLEANER                                                                    i
                                                                                                 -     --
                          3
                          1
                                     WASTE EXTRACTION CONVEYORS
                                     FOLDER GLUER 188 FB HEAVY DUTY
                                                                                                                              I
                                                                                                                              I
   ! Pos.9a     1 STANDARD GLUER SYSTEM                                            I
   !' Pos.10 - -, RE-FEED MODULE for stitching                                                                                                      I

   1- - - - - - -- - - -- - - - - - - - - - - - - - - ~ - - - - + - - - - - - - - t
   ! Pos.11               1          STITCHER MODULE
   i
   I Pos.11a          j1              SECOND INLINE STITCHING HEAD
       Pos.12         11              BOTTOM ENTRY BUNDLES COUNTER EJECTOR
                      I               {Included Bundle Straoolng MOSCA)
       Pos.13             1           DOWN STACKER MODULE+ NO STOP device -------i- ------·--
       Pos.14             1          1 MAIN ELECTRIC CABINET with PRESETTING                           I! ~ 0,;(Jo~~- - - - - -- '
   !Pos.15                1           SET of STRUCTURES, STAIRS and WALl<JIVAYS                        .\ V          o.,':-

                                                                                                            f -" / \                 included
       Pag.5

       Pag.16
                      I
                      I
                                      SET OF JAM DETECTOR SYSTEMS
                                      also on the orinter modules
                                      DELIVERY OAP Customer door
                                                                                             "\. J
                                                                                             'V' c-J--\
                                                                                                .,":'., ·      l\n
                                                                                                                         \I
                                                                                                                                     included
       Pag.16/19      I
                      I
                                      OFFLOADING AND INSTALLATION + INSURANCE ..,.
                                      3 MONTHS TRAINING TO THE OPERATORS                         {(hi--
                                                                                                             • ~,              included l
                                                                                                             - _\i_-"r-\-+----=-1n_c,....
                                                                                                                                    lu-:- ded
                                                                                                                                           --:-1i
       Pag.17
       Pag.18                         36 MONTHS WARRANTY                                         , -"                "               included :
                                                                                                  '·   "'
       Pag.16                         DELIVERY WITHIN AUGUST 2020                                      ~                             included

       TOTAL NET PRICE for Englco machine as Hated above and de9crlbed in thl• document, for the
       Proposal of Gan11n11 Agreement signed within and of 0ctob8I' 2019
                                                                                                       I
                                                                                                 ---'~-\.-
                                                                                                                                  4.400.ooo,oo l
                                                                                                                                         Euro I
                                                                                                                                                        I




              GENERAL AGREEMENT# 15119 of October 30,2019                                                                            15/22




                                                                                                                     ENG 001454
                                                                                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
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      En91co
                                            CONDITIONS OF SALE

      1)PRE-TESTING: All TechnicaVPerfonnance Data Sheet(s) shall be submitted and approved on
      or before December 1, 2019. A complete preliminary inspection and testing of the machinery
      (tentatively scheduled for June 1, 2020) will be conducted at Engico factory prior to despatch, with
      materials supplied free of charge by the Customer, which shall be at least 60 days prior to the
      scheduled Delivery and Installation and Commissioning of August 3, 2020. This will be stated in
      the COMPLETION OF INSPECTION AND PRE-TEST CERTIFICATE (See copy attached}.

      2) DELIVERY:      Within August 2020 for all documentation signed October 31. 2019 and down
                        payment received upon presentation of advance payment guarantee from
                        Englco.                           p           //'/4,
                        Delivery OAP Customer door      v ~~ Jtf:"? EN.J, ,. C. 0,       :··f,..\1,
      3) INSTALLATION AND:          Scheduled in month of August 3, 2020           ~A j'/t.N Zo,Z
         COMMISSIONING              Installation, start up, and production of the first saleable boxes will
                                    be stated in the COMPLETION OF INSTALLATION ANO
                                    COMMISSIONING CERTIFICATE.
                                    Approx. 5 weeks.
                                    NO less than 120 days prior to delivery an Engico representative shall
                                    arrive at the purchaser facility for all floor markings, confirmation of
                                    measures and installation process - all installation drawings shall be
                                    provided at this time - if necessary the purchaser has the right to
                                    request a seoond visit prior to all civil work being performed prior to
                                    machine arrival
                                    The Customer is to supply:
                                    - All the civil works
                                    - Power, air and water to the machine
                                    - Crane for unloading and placing in machine agreed location on
                                    factory floor, forklift etc. (crane/large forklift to be supervised by
                                    Engico at all times.
                                    - provide a 10,000 pound forklift for daily use.

      4) PENALTIES: The Customer and ENGICO s.r.1. agree to there being a late delivery penalties
                   of Euro 1000/per Day from 1st day of the 7th week until acceptance based on the
                      Technical and Performance Sheet Date section included herein.The                above
                      penalties fom, is valid and applied to Engico s.r.l. on delay in delivery, installation
                      and start up of its machinery.
                      If the Customer delays in preparing the area where the machinery is to be
                      installed, it will be due however to receive the machinery for the scheduled date,
                      storing it at its own risk and charge.
                      Anyhow the installation has to start no later than 10 days after the arrival of the
                      containers lo the customers floor.
                      In case installation is further delayed, the warranty period will start on machine
                      acceptance based on Technical and Perfonnance Data Sheet section included
                      herein.

                         Force Majeure.      Neither Customer nor Supplier shall be liable for
           non-performance or delay in performance caused by any event reasonably beyond
          the control of Customer or Supplier; as applicable, including, but not limited to acts
           of God, fire, flood, earthquakes and other natural disasters, and industrial disputes
           and strikes (but not industrial disputes and strikes involving Supplier's or
           Customer's operations, as applicable) (each, a "Force Majeurej. Supplier's or
           Customer's, as applicable, time of performance under the Contract shall be
           extended for the period of any reasonable delays due to such events; provided,
           however, that Supplier or Customer, as applicable, shall receive no such extension
           of time for completion unless within twenty (20) days after the happening of any
      GENERAL AGREEMENT# 15119 of October 30,2019                                     Q_   16/22




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        En91co
               event relied upon by Supplier or Customer, as the case may be, for such an
               extension of time, Supplier or Customer, as applicable, shall have given the other
               party written notification of the nature and length of the delay. Such extensions of
               time shall be on a direct day-for-day basis. In the event a Force Majeure continues
               for a period of over two (2) consecutive weeks, then the parties affected by such
               Force Majeure shall meet and come to a mutual agreement on a commercially
               reasonable time period in which the manufacture, delivery and installation of the
               Equipment shall take place. In the event that a mutual agreement cannot be
               reached on such issues, then the parties agree that these matters will be submitted
               to arbitration as set forth herein in sections 14. And 15, hereto.


        5) CHANGE OF DESTINATION:              For any change of destination of the machinery, the delivery
        and installation costs will be recalculated.

        6) FINAL TESTING:      The test times shall be those reasonably necessary to ensure correct
                               operation of the machinery and will therefore be subject to modification if
                               further regulations or modifications are considered necessary by ENGICO
                               s.r.l.'s technical staff.
                               After a period of 30 days of production, covering the range of Technical/
                               Performance Data Sheet specifications and production requirement(s), the
                               machine's capability, the Customer shall acknowledge the correct operation
                               of the machinery by signing the CUSTOMER ACCEPTANCE
                               CERTIFICATE and noting any outstanding issues to be addressed as a
                               part of warranty.

        7) CERTIFICATION
           AND SAFETY RULES:         All the parts and the entire machinery are manufactured and supplied
                                     according to UL rules and in accordance with all OSHA Lock otrrag
                                     out processes

                                     All interfaces with E-Stop and normal operation to be provided
                                     along with wires to other machines electrical panels - prefeeder,
                                     conveyor systems and anything else needed for normal
                                     operation as per this specification


        8) TRAINING:     Full manuals in local language. Operator Training by Engico. Engico will provide
                         3 months full training jointly in consultation with the Customer living at customer
                         location.


       9) SPARE PARTS:          Full spare parts books in English with prices on consignment.
                                Engico will provide approximately Euro 50,000 stock of spares free of charge
                                on deposit at the Customer plant.
                                These will be held until the end of the warranty period when the Customer
                                has the option to buy them.
                                hty parts used by the customer must return the used part for warranty credit,
                                or the customer must pay for the part. This does NOT include consumable
                                parts.
                  Specifications shall be provided as well as drawings, if necessary, to source parts locally
        to the factory if the customer chooses, the customer acknowledges this to be confidential
        information and not to release for any other purpose then to remedy a machine condition.

       10) SERVICE:Engico will provide full Assistance and technical back up.
                  A) By Telephone/Modem - same day or next working day.
                                                                                            fr;
                   B) An appropriate engineer - as soon as possible, but no later than seventy-two              B
                    hrs.) 72 hours.
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        En91co
       11) WARRANTY:      36 months from acceptance date.
                          ENGICO s.r.l. guarantees the good quality of the products, their correct
                          manufacture and the skill of its technical staff, and undertakes to repair or
                          replace free of charge any parts which prove defective during the agreed
                          warranty period in the shortest possible time, provided that such defects are not
                          due to malfunctions caused by the Purchaser's inexperience or negligence. use
                          of the machinery outside the contractual limits, unauthorised work on the
                          machinery or force majeure.

                          Delivery of spare parts, travelling, board and lodging expenses of
                          ENGICO's technical personnel will be paid by the Purchaser.
                          Unless otherwise specified, the terms of the warranties given by the
                          manufactures shall apply to the electrical parts, including the motors, and the
                          electronic parts.
                          The warranty does not include those parts considered to be liable to normal
                          wear and tear (polyurethanes, folding and box conveyors belts, glue scraper,
                          ink scraper. etc.), depending on the type of machinery specified in the FINAL
                          SIGNED AGREEMENT.

                          If it is necessary and Engico sends a technician to the customer and it is
                          confirmed the machine is at fault, Engico will accept the full cost ( Technician,
                          Parts, travel, hotel etc.. ) IF it is confinned due to the customer not following
                          proper maintenance practices to maintain the machine has caused the failure,
                          the customer will accept the responsibility of full cost of the visit ..
                          The warranty shall not apply if the Purchaser is in breach of any of the terms of
                          contract, or in case it has made substantial alterations to the machinery without
                          ENGICO s.r.l.'s prior written consent, or has submitted its written report on
                          defects found later than EIGHT days after their discovery.


        12)    TERMS OF PAYMENT:             A. 25% w/Order
                                             B. 35% w/ Bill of Lading@ Port in Italy
                                             C. 15% when delivered on purchaser floor
                                             D-12.5% When COMPLETION OF INSTALLATION AND
                                             COMMISSIONING CERTIFICATE is signed. (See copy
                                             attached)
                                             E- 12.5% After 30 days of production, in full reference to Point
                                      6 in this agreement

                                      Deposit A guaranteed by ADVANCED PAYMENT GUARANTEE
                                      issued by the Bank acting on behalf of the Supplier.
                                      Payments steps 8-C-D-E guaranteed by IRREVOCABLE LETTER
                                      OF CREDIT issued by the bank acting on behalf of the Purchaser.

        Payments shall be made punctually in accordance with the terms specified in the FINAL SIGNED
        AGREEMENT. In the event of delay, interest shall be payable on the arrears at the BCE base rate
        plus 10% ofit.
        It is understood and agreed to by all parties hereto, that while this agreement is being made in
        instalment payments, once the property/machinery shall be placed on the Customer's facility floor,
        Customer shall have an insurable interest in the property/machinery in the percentage of the
        purchase price which the Customer has paid to that point in time, and ENGICO s.r.l. shall only be
        responsible to maintain an insurable interest in such property/machinery until the
        Customer/Purchaser has paid the entire pun:hase price.           ~




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        Eng1co
        13) INSURANCE: The Supplier shall prior to commencement of any work at or on the
        Customer's site, at its sole expense, procure and maintain in full force and effect
        throughout the term of the Agreement, through companies and agencies satisfactory to the
        Custromer, the following insurance requirements are to be agreed and presented by
        Engico by March 1, 2020.

                 a. For U.S. exposures, Worker's Compensation and Employer's Liability
                     Insurance in the Supplier's name in .amounts as required by law but under no
                     circumstances with limits of liability under the Employer's Liability portion of
                     less than Five Hundred, Thousand Dollars {$500,000). The insurance
                     company writing such coverage must provide a waiver of subrogation. In
                     addition, the policy must include "All States" and "Voluntary Compensation"
                     endorsements.

                 b. Comprehensive General Liability Insurance in the Supplier's name written on
                    an occurrence fonn, including Broad Form Contractual Liability Insurance,
                    The Supplier's Protective Liability, and Broad Form Property Damage and
                    Completed Operations endorsemehts, with not less than Four Million Dollars
                    {$4,000,000) per occurrence Combined Single Limit Exclusions for
                    explosions, collapse and underground property (X, C and U) shall be
                    deleted. Such policies shall name the Customer as an Additional Insured.

                 c. If applicable, Automobile Liability Insurance, written on an insurance form,
                    with an Employer's Non-Ownership Liability Endorsement in the Customer's
                    name, with no less than One Million Dollars U.S. ($1,000,000) per
                    occurrence Combined Single Limit. Such policy shall name the Customer as
                    an Additional Insured.

                 The insurance policies described in paragraphs (b) and {c) and above shall
                 afford the Customer with primary coverage, irrespective of any other coverage
                 available to or maintained by the Customer or the Supplier, and the Supplier's
                 self-insured retention in connection with the insurance policies described in
                 paragraphs (b) and (c) above shall not exceed U.S. $100,000, for which the
                 Supplier hereby expressly assumes responsibility. The insurance companies
                 providing the foregoing coverage shall have a best rating of "A" or better. The
                 Supplier shall be responsible for maintaining insurance covering its personal
                 property used by it in its performance of the Agreement. The Supplier hereby
                 waives, and shall cause its insurers to waive, all rights of subrogation against
                 the Customer.


       14) ARBITRATION:    Shall be in accordance with the American Arbitration Association rules and
                           procedures.

       15) JURISDICTIONS: New York.

                              Signed by way of acceptance Date

        PRESIDENT CONTAINER GROUP II, LLC




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        Eng,co
                               COMPLETION OF INSPECTION AND PRE-TEST CERTIFICATE


        CUSTOMER: ........................................................................................

        MACHINE:           MULTIFUNCTION BOTTOM FFG model COMPACT66-99/188 [16-25148]
                           DUALSIZE

        COMPOSED OF:                                                                                SERIAL NUMBER:




        On behalf of the Customer I have inspected and tested the above machine and can confirm it
        meets all the specs and performances stated in the pre-test protocol agreed, as per contract.



        Signature

        Name

        Position

        Date




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        Eng1co
                            COMPLETION OF INSTALLATION AND COMMISSIONING



        CUSTOMER:       ...........................................................................................

        MACHINE:     MULTIFUNCTION BOTTOM FFG model COMPACT66-99/188 [16-25/48)
                     DUAL SIZE




        SERIAL NUMBER:

        DATE OF DELIVERY:

        DATE OF INSTALLATION:


        This is to certify the above machine has been installed and started-up producing the first saleable
        boxes as detailed in the contract.


        On behalf of the Customer


        Signature




        Position _ _ _ _ _ _ _ _ __


        Company _ _ _ _ _ _ _ _ __


        Date _ _ _ _ _ _ _ __ __




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        En91co
                                          CUSTOMER ACCEPTANCE CERTIFICATE



        CUSTOMER:       ......... ................................................................................. .

        MACHINE:     MULTIFUNCTION BOTTOM FFG model COMPACT 66-991188 [16-25/48]
                     DUAL SIZE



        SERIAL NUMBER:

        DATE OF DELIVERY:

        DATE OF INSTALLATION:


        This is to certify the above machine has performed according to the specification as detailed in the
        contract for the agreed period ending _ _ _ _ __ _ __
        All the relevant documentation has been delivered as well.

        List of any open issues to be attached and a part of warranty

        On behalf of the Customer I accept the machine from Engico s.r.l.



        Signature




        Position _ _ _ _ _ _ _ __ _


        Company _ _ _ _ _ _ _ _ __


        Date _ _ _ _ _ _ _ _ _ __




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  Performance appendix to the agreement #15/19 of October 30, 2019

      #1 - Achievable
             Collecting: bundle+ stacker (depending on the stability of the stack)
             Print: 3 colors OK
             Productivity: 1.800 pcs/h
             Mode: Double skip feed

      #2 - Achievable - Only flat and at least with 1 inch trimmable
             Collecting: stacker+ bundle
             Print: 1 colors OK
             Productivity: 5.000 pcs/h
             Mode: Single feed

      #3 - Achievable - With the side slots
             Collecting: stacker
             Print: 1 colors OK
             Productivity: 5.000 pcs/h
             Mode: Single feed

      #4 - Not achievable

      #5 - Achievable - Only flat and at least with 1 inch trimmable
             Collecting: stacker
             Print: 1 colors OK
             Productivity: 3.000 pcs/h
             Mode: Double feed

      #6 - Achievable - Smallest panel of the box + Joint flap must be on the left side of the machine
                        Pull bands on each printer
             Collecting: bundle+ stacker (depending on the stability of the stack)
             Print:
             Productivity: 6.000 pcs/h
             Mode: Double feed

      #7 - Achievable - With side slots and reverse flute direction
             Collecting: stacker+ bundle
             Print 1 colors OK
             Productivity: 4.000 pcs/h
             Mode: Single feed

      - Perfonnance appendix to the agreement #15/19 of October 30, 2019 -                1 di 14




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      #8 - Achievable - Minimum panel on the joint flap
             Collecting: stacker
             Print: 1 color OK
             Productivity: 2.500 pcs/h
             Mode: Skip feed

      #9 - Achievable - Only flat with the side slots
             Collecting: stacker
             Print: 1 colors OK
             Productivity: 4 .500 pcs/h
             Mode: Single feed

      #1 O - Achievable - Only flat with the side slots
             Collecting : stacker
             Print: 1 colors OK
             Productivity: 4.500 pcs/h
             Mode: Single feed

      #11 - Achievable - Smallest panel of the box + Joint flap must be on the left side of the machine
             Collecting: stacker
             Print: 1 colors OK
             Productivity: 5.000 pcs/h
             Mode: Single feed

      #12 -Achievable
             Collecting: stacker
             Print: 1 colors OK - print plate on the 99"
             cylinder Productivity: 1.800 pcs/h
             Mode: Double skip feed




      - Performance appendix to the agreement #15/19 of October 30, 2019 -                9 di 14




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                  EXHIBIT 2
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